          Case 1:21-cv-01967-SAG Document 4 Filed 09/14/21 Page 1 of 4



                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                               NORTHERN DIVISION


 Anita G. Zucker, Trustee of the Anita G. Zucker
 Trust Dated April 4, 2007, as Subsequently Amended
 or Restated

 and

 Anita G. Zucker as Trustee of the Article 6 Marital
 Trust, Under the First Amended and Restated Jerry
                                                        No. 1:21-cv-01967-SAG
 Zucker Revocable Trust Dated April 2, 2007

        Individually and on behalf of all others
        similarly situated,

                         Plaintiffs,

        v.

 Bowl America, Inc., Bowlero Corp., Duff & Phelps
 Securities LLC, Cheryl A. Dragoo, Allan L. Sher,
 Merle Fabian, Gloria M. Bragg, Nancy E. Hull, and
 Ruth Macklin
                        Defendants.


  STIPULATION AND PROPOSED ORDER REGARDING SERVICE OF PROCESS
             AND DEFENDANTS’ RESPONSE TO COMPLAINT

       WHEREAS, on August 4, 2021, plaintiffs Anita G. Zucker, Trustee of the Anita G. Zucker

Trust Dated April 4, 2007, as Subsequently Amended or Restated and Anita G. Zucker as Trustee

of the Article 6 Marital Trust, Under the First Amended and Restated Jerry Zucker Revocable

Trust Dated April 2, 2007 (“Plaintiffs”) commenced this proposed class action by filing a

complaint (Dkt. 1) against Bowl America, Inc., Bowlero Corp., Duff & Phelps Securities LLC,

Cheryl A. Dragoo, Allan L. Sher, Merle Fabian. Gloria M. Bragg, Nancy E. Hull and Ruth Macklin
          Case 1:21-cv-01967-SAG Document 4 Filed 09/14/21 Page 2 of 4



(collectively, “Defendants”), alleging violations of the federal securities laws which was amended

on August 5, 2021 (“Amended Complaint”) (Dkt. 3); and

       WHEREAS, in accordance with the provisions of the Private Securities Litigation Reform

Act of 1995 the deadline to seek appointment as lead plaintiff (“Lead Plaintiff”) in this action is

October 5, 2021.

       IT IS HEREBY STIPULATED AND AGREED, by and between the parties, and subject

to the Court’s approval, as follows:

       1. Effective as of the date of this Stipulation, all Defendants have been properly served

           with, or otherwise have accepted service of, the Amended Complaint; however,

           Defendants’ agreement to accept service is not and shall not be construed as a waiver

           of any other defenses, including but not limited to defenses related to personal

           jurisdiction.

       2. Defendants’ obligation to answer or otherwise respond to the Amended Complaint or

           any other complaint in this action is deferred until after the Court has appointed a Lead

           Plaintiff and lead counsel in this action, and is subject to further stipulation among the

           parties; and

       3. Within fourteen (14) days of the Court’s appointment of a Lead Plaintiff, Defendants

           and lead counsel for such Lead Plaintiff will enter into a further stipulation and

           proposed order providing for (a) Lead Plaintiff’s deadline to file an amended or

           consolidated complaint; (b) Defendants’ deadline to answer or otherwise respond to the

           amended or consolidated complaint, which shall not be earlier than 60 days after the

           filing of such amended or consolidated complaint; and, if Defendants move to dismiss
        Case 1:21-cv-01967-SAG Document 4 Filed 09/14/21 Page 3 of 4



         the amended or consolidated complaint, (c) a schedule for the briefing of such motion

         to dismiss.


     4. If no person or entity seeks to be appointed as Lead Plaintiff on or before the deadline

         for such motions on October 5, 2021, Defendants and Plaintiffs shall, within fourteen

         (14) days of the expiration of such deadline, enter into a further stipulation and

         proposed order providing for (a) Plaintiffs’ deadline to file an amended complaint if

         they choose to do so; (b) Defendants’ deadline to answer or otherwise respond to the

         current or amended complaint, which shall not be earlier than 60 days after the filing

         of such complaint or, if Plaintiffs choose not to file a further amended complaint, not

         earlier than 60 days after the further stipulation; and, if Defendants move to dismiss the

         complaint, (c) a schedule for the briefing of such motion to dismiss.


IT IS SO STIPULATED ON SEPTEMBER 14, 2021, THROUGH COUNSEL OF RECORD.



By:                                              By:
COHEN MILSTEIN SELLERS & TOLL                    FOLEY & LARDNER LLP
PLLC

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         Case 1:21-cv-01967-SAG Document 4 Filed 09/14/21 Page 4 of 4



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                                       Nominal Defendant Bowl America, Inc.

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                                       Counsel for Defendant Duff & Phelps
                                       Securities LLC



                                    SO ORDERED, this 16th day of September, 2021.


                                                 /s/
                                    HON. STEPHANIE A. GALLAGHER
                                    UNITED STATES DISTRICT JUDGE
